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              EXHIBIT A
                                                                                        5J52- "        77
                                  Case 1:14-cv-03451-WSD Document
            ' SHERIFF'S ENTRY OF SERVICE .                           1-1 Filed 10/28/14 Page
                                                                SC-85-2                  '•    2 ofCAS13
                                                                                              CLYDE     LEBERRY CO., COVINGTON, GA 30015

                                                                         Superior Court            Magistrate Court                  LI
               'Civil   Action No.    cO         C v-icr31-; -3          State Court       El .
                                                                                                   Probate
                                                                                                    .
                                                                                                              Court                  LII
                                                                                                              Juvenile Court
               Date Filed          q        g                                                                 Georgia,   kif'LL n                                 COUNTY


               iokttbrney's Address,
              l)1(111-lin KCu-rt                                                                               11)1. 114 IL( eP)ri_t 1
                                                                                                                                                                        Plaintiff
             Laik-f0(fl're5                 oe                         lb. kii                       LLC....
                                                                                                                                         VS.
              55q- nleci                                    6,1-1;+e- loci
                      _ A..                                                                                    e 1)) pnrd
               Name and Address of Party to be Served.

                                                                                                                                                                      Defendant

             N            CAI r           1-1.(,)/ )/--)   PircYr s                            pco
                10                 fe                       vd.
                                                                                                                                                         I.
                                                                                                                                                                      Garnishee
              -°(.141 Lf                            3 '-)-)ct 1 SHERIFF'S ENTRY OF SERVICE •
                I have this day served the defendant                                                                                                    — personally. with a copy.
                of the within action and summons.




                I have this day served the defendant                                                                                                                  by leaving a
NOTORIOUS




                copy of the action and summons at his most notorious place of abode in this County..

            E Delivered same into hands of                                                                                                                    described as follows:

                age, about                  years; weight                   pounds; height, about                    feet and             ,inches, domiciled at the residence of

                defendant.




               . Served   the defendant                         bo. if (9,             ,   L     -
                                                                                                                                                  \                   a corporation
                by leaving a copy of the within action and summons with           1.       .   A A,           1-5                          / IJ 1
                                                                                                                                   *         I
                in charge of the office and place of doing business of said Corporation in this County.

               4
               '11     this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the premises designated in said
                affidavit, and on the same day of such posting by depositing a true copy of same in the United States Mail. First Class in an envelope properly addressed to the .
                defendant(s) at the address shown in .said summons, with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the.
                place stated in the summons.




                Diligent search made and defendant
111
z LI            not to be found in the jurisdiction of this Court.
0



                This      \    day of          CA'                   20    t




               SHERIFF DOCKET                      PAGE

                                                                                                          -          ,
                                                                     WHITE-CLERK CANARY-PLAINTIFF PINK-DEFENDANT
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                   IN THE SUPERIOR COURT OF NEWTON COUNTY
                               STATE OF GEORGIA

KIN SHU RAY,
                                                      Civil Action
     Plaintiff,                                                c:01
V.                                                    File no.                                                r-rs
                                                                                               rrt              • (-
                                                                                               -0            ,c1) rri
C.R. BARD, INC.,                                                                              PO       CZ)


                                                                                             "13
                                                                                                            CD --n
     Defendant.                                                                                                   -r;

                                                                                            CA)       7,)
                                                                                            ••••••m         7.1


                                             SUMMONS

        TO THE ABOVE NAMED DEFENDANT:

        You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiff's attorney, whose name and address is:

Benjamin Kandy
GA Bar Number 765357
The Law Office of Benjamin B. Kandy LLC
534 Medlock Road
Suite 109
Decatur, GA 30030
(678) 824-2251
ben@bkandylaw.com

an answer to the complaint which is herewith served upon you, within 30 days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be
taken against you for the relief demanded in the complaint.

ThiX if \( day oF     Avikar,, 2014
                                                                                    Linda Dalton Hays
                                                                                Clerk of Superior Court


                                                                 By
                                                                               -Deputy Clerk
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             IN THE SUPERIOR COURT OF NEWTON COUNT)ET,
                          STATE OF GEORGIA         mr-r, fn
                                                   cp    ci                      c,.."
                                                                             :4 -T7
                                                                       P     a)
                                                                      2r-       NI
KIN SHU RAY,                                   )                      >
                                               )   Civil Action No.   P
                                                                      (-)   .i     11
                                                                      :--
     Plaintiff,                               )                       1-9          (9
                                                                      xi
V.                                            )                                    c...)
                                               )
C.R. BARD, INC.,                               )   JURY TRIAL DEMANDED

     Defendant.


                       COMPLAINT FOR DAMAGES

        COMES NOW Plaintiff, Kinshu Ray (hereinafter "Plaintiff), and

files this lawsuit against Defendant, C.R. Bard, Inc. (hereinafter

"Defendant"), and shows the following:

                            I. Nature of Complaint

                                          1.

        Plaintiff brings this action to obtain full and complete relief and to

redress the unlawful employment practices described herein.

                                         2.

        This action seeks declaratory relief, liquidated and actual damages for

Defendant's failure to pay federally mandated overtime wages to Plaintiff in

violation of the Fair Labor Standards Act of 1938, as amended, 29 U.S.C.

§201 et seq. (hereinafter "FLSA") during a period of the Plaintiff's

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employment with Defendant from approximately August 2012 until

September 2013 (hereinafter referred to as the "Relevant Time Period").

                     • H. Jurisdiction and Venue

                                        3.

      The jurisdiction of this Court is invoked pursuant to 29 U.S.C.

§216(b).

                                        4.

      Plaintiff is a resident of the State of Georgia.

                                        5.

      Defendant is a corporation organized and existing under the laws of

the State of New Jersey with its principal place of business at 730 Central

Avenue, Murray Hill, New Jersey 07974.

                                        6.

       The unlawful employment practices described herein occurred at

Defendant's facility at 8195 Industrial Boulevard Covington, Newton

County, GA 30014. The Defendant conducts business in Newton County,

Georgia and is within the jurisdiction of this court.




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                                       7.

      Defendant may be served through its Georgia registered agent for

service, Corporations Process Company, which is located at 2180 Satellite

Boulevard Duluth, Georgia 30097.

                                       8.

      Venue is appropriate as because the events leading to the cause of

action originated in this County and the corporation has an office and

transacts business in this County.

                                 III. Parties

                                       9.

      Plaintiff is an "employee" of Defendant as defined under 29 U.S.C.

§203(e).

                                       10.

      During the Relevant Time Period, Plaintiff worked an amount of time

that was more than forty (40) hours per workweek for which she was not

paid any overtime wage differential.

                                       11.

      Defendant is a private employer engaged in interstate commerce, and

its gross revenues exceed $500,000 per year.


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                                     12.

      Defendant is an "enterprise engaged in commerce or in the production

of goods for commerce" within the definition of 29 U.S.C. §203(r)(1),

§203(s)(1).

                                     13.

      Defendant is an "employer" within the definition of 29 U.S.C.

§203(e).

                                     14.

      Defendant is governed by and subject to 29 U.S.C. §204 and §207.

                                     15.

      Defendant employed Plaintiff during the Relevant Time Period.

                                    IV. Facts

                                     16.

      Plaintiff began working for Defendant August, 2012 and stopped

working for Defendant September, 2013.

                                     17.

      Defendant claimed that Plaintiff was an independent contractor and

not an employee.




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                                       18.

      Plaintiff worked for Defendant as a Field Assurance Specialist.

                                       19.

      Plaintiff's primary duty was entering information from forms into a

computer data base and generating reports from that data.

                                       20.

      Plaintiff performed her work in a facility operated by Defendant

                                       21.

      Plaintiff used equipment provided by Defendant to perform her duties.

                                       22.

       For example Plaintiff used a computer supplied by the Defendant to

do data entry at the instruction of Defendant.

                                       23.

      Defendant instructed Plaintiff on how to perform her duties.

                                       24.

      Plaintiff had no previous skill or training in how to perform her duties.

                                       25.

      Plaintiffs position of Field Assurance Specialist did not require skill

or training other than instruction provided by Defendant.


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                                        26.

        Plaintiffs work hours were set by Defendant.

                                        27.

        Plaintiff had to ask for permission and get approval from Defendant in

order to deviate from her set hours.

                                        28.

        Other individuals performed the same duties, with the same job title,

in the same facility, using the same equipment as Plaintiff.

                                        29.

        Many of these individuals were provided to Defendant by third party

staffing agencies.

                                        30.

        The individuals who were provided by staffing agencies were treated

as employees for the purpose of compliance with state and federal labor

laws.

                                        31.

        Other individuals with the same job title, performing the same duties,

in the same facility, using the same equipment as Plaintiff did were paid an

overtime differential when they worked over 40 hours in a work week.


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                                         32.

      Plaintiff was paid $21 per hour.

                                         33.

      Plaintiff was not paid on a salary basis.

                                         34.

      Plaintiff completed weekly time sheets.

                                         35.

      An agent or representative of Defendant would examine and sign

Plaintiff's weekly time sheet. This was most often Nycole Sayer.

                                         36.

      Plaintiff occasionally worked more than 40 hours in a work week.

                                         37.

      Plaintiffs time sheets showed when she worked more than 40 hours in

a work week.

                                         38.

      Plaintiff was paid her regular rate of $21 an hour for each hour

worked, even for hours worked over 40 in a work week.




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                                       39.

      From August 2012 until December 2012 Plaintiff was asked by her

manager Stephanie Stephens to take a half hour off her time sheet for lunch

even when Plaintiff worked during her lunch break.

                                       40.

      Plainitff was not paid at all for some of the hours that she worked

because she was made to take a half hour off of her time sheet for lunch

even when she worked during that time.

                                       41.

      During the Relevant Time Period, Plaintiff was not paid the overtime

wage differential required by 29 U.S.C. §207, on the occasions that Plaintiff

worked over forty (40) hours in a workweek.

            V. Violation of the Overtime Wage Requirement
                     of the Fair Labor Standards Act

                                       42.

      Defendant has violated 29 U.S.C. §207, by failing to pay overtime

wages for time that Plaintiff worked in excess of forty (40) hours in a

workweek during the Relevant Time Period.




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                                          43.

      Pursuant to 29 U.S.C. §216, Plaintiff brings this lawsuit to recover

overtime wage differential, liquidated damages in an equal amount,

attorneys' fees, and the costs of this litigation.

                              VI. Prayer for Relief

                                          44.

       WHEREFORE, Plaintiff respectfully requests that this Court:

       (A)    Grant Plaintiff a trial by jury as to all triable issues of fact;

       (B)    Enter judgment awarding Plaintiff unpaid wages pursuant 29

              U.S.C. §207; liquidated damages as provided by 29 U.S.C.

              §216§; pre-judgment interest on unpaid wages pursuant to 29

              U.S.C. §216; court costs, expert witness fees, and reasonable

              attorneys' fees as provided under 29 U.S.C. §216; and all other

              remedies allowed under the FLSA;

       (C)    Grant declaratory judgment declaring that Plaintiff's rights have

              been violated; and

       (D)    Award Plaintiff such further and additional relief as may be just

              and appropriate.


       Respectfully submitted, this 1:24 day of September, 2014.

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                                  THE LAW OFFICE OF
                                  BENJAMIN B. KANDY LLC


                                  Benjamin I.-Kandy
                                  Georgia Bar No. 765357
                                  Attorney for Kinshu Ray


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